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L.t.
Thls document entered on the docket sheet In compliance
with mile sa and.'or,?s (a) FncP on §§ 193 ' 05

 
 
 

IN THE UNITED sTArES DISTRICT COURT Fg§.¢(/@ \
THE WESTERN DISTRICT 0F TENNESSEE / 00
EASTERN DIVISION .‘~ {

TRI-COUNTY CONVALESCENT
HOME, INC, A TENNESSEE CORP.
AND SHILOH DRUG AND SPECIALITY
STORE, INC., A TENNESSEE CORP.

Plaintiffs,

/

case No.= 1-04-113/7-5T/AN

V.
HP/PROPERTlES, INC., A
GEORGIA CORPORATION,
HP/MANAGEMENT GROUP, 1NC.,

A GEORGIA CORPORATION,
DOUGLAS K. MITTLEII)ER, AND
HP/THREE RIVERS, INC., A GEORGlA
CORPORATION,

W‘_/\_/\_/\'/\./\-/\,JW\_¥\_¥\_¢'\-/W\_/\-/\_V\_¢'

Defendants. /

JOINT MOTION FOR CO§TINUANCE

 

The parties hereto jointly move th ourt for a continuance and resetting of the trial of

this matter, currently Set for non trial on March 8, 2006. The grounds for continuance appear

more fully in the Memor durn and Aftidavit filed herewith

lt is resp fully requested that the Court consider resetting the matter in September 2006

 

MOT|ON GRANTED
DATE:

 
  

AUB 22 PH 21 lli

James D. Todd
U.S. District Judge

     

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Respectfully submitted,

/j////rdw €MW /A¢ IFZAJJ)

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ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

